                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

JAMIE LEE PETERSON,

      Plaintiff,
                                     No. 1:15-cv-00969
v
                                     HON. PAUL L. MALONEY
DAVID HEYMES, GREG SOMERS,
MARK URIBE, DAVID ISRAEL, ESTATE
OF BRIAN DONNELLY, VILLAGE OF
KALKASKA, COUNTY OF KALKASKA,
UNNAMED OFFICERS OF THE
MICHIGAN STATE POLICE, and
UNNAMED OFFICERS OF THE
KALKASKA POLICE DEPARTMENT,

      Defendants.


Gretchen E. Helfrich                 Joseph T. Froehlich (P71887)
Gayle Horn                           John G. Fedynsky (P65232)
Roshna Bala Keen                     Attorneys for Defendants Somers & Uribe
Loevy & Loevy                        Michigan Dep’t of Attorney General
Attorneys for Plaintiff              Civil Litigation, Employment & Elections
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G. Gus Morris (P32960)               Gregory R. Grant (P68808)
Christopher J. Raiti (P68600)        Cummings, McClorey, Davis & Acho, PLC
McGraw Morris PC                     Attorney for Defendants Israel
Attorneys for Defendants Heymes      & County of Kalkaska
& Village of Kalkaska                400 W. Front Street, Ste 200
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                   MOTION TO WITHDRAW APPEARANCE
       Joseph T. Froehlich, former Assistant Attorney General for the State of

Michigan, moves the Court to enter an order granting his motion to withdraw his

appearance as counsel for Greg Somers and Mark Uribe (Defendants) in the above

action, based on the following grounds:

       1.    Joseph T. Froehlich has accepted another job offer and is no longer

employed as an Assistant Attorney General.

       2.    Good cause exists for authorizing the withdrawal by former Assistant

Attorney General Joseph T. Froehlich from representing Defendants in this case

because Mr. Froehlich is no longer representing the State of Michigan or its

employees as an Assistant Attorney General. Additionally, Assistant Attorney

General John G. Fedynsky has entered an appearance on behalf of Defendants.

       3.    Termination of attorney Froehlich as counsel for Defendants will not

adversely affect Defendants, as they will continue to be represented by AAG

Fedynsky.

                                      Respectfully submitted,

                                      BILL SCHUETTE
                                      Attorney General

                                      s/ Joseph T. Froehlich
                                      Joseph T. Froehlich (P71887)
                                      John G. Fedynsky (P65232)
                                      Former Assistant Attorney General
                                      Michigan Dep’t of Attorney General
                                      Attorney for Defendants Somers & Uribe
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Dated: April 5, 2018                  FroehlichJ@michigan.gov


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                        CERTIFICATE OF SERVICE

       I hereby certify that on April 5, 2018, I electronically filed the foregoing paper
with the Clerk of the Court using the ECF system which will send notification of
such filing of the foregoing document as well as via US Mail to all non-ECF
participants.

                                         s/ Joseph T. Froehlich
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                                         P.O. Box 30736
                                         Lansing, Michigan 48909




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